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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                           WACO DIVISION

JANE DOE,                                            §
                                                     §
                   Plaintiff,                        §
                                                     §
v.                                                   §                   6:17-CV-125-RP
                                                     §
BAYLOR UNIVERSITY,                                   §
                                                     §
                   Defendant.                        §

                                                ORDER

         Before the Court is the parties’ Agreed Stipulation of Dismissal. (Dkt. 33). The parties

stipulate that the above-captioned action should be dismissed with prejudice pursuant to Rule

41(a)(1). (Id.).

         Federal Rule of Civil Procedure 41(a)(1)(A)(ii) allows a plaintiff to dismiss an action upon

filing a stipulation of dismissal signed by all parties who have appeared. Plaintiff has done so.

“Stipulated dismissals under Rule 41(a)(1)(A)(ii) . . . require no judicial action or approval and are

effective automatically upon filing.” Yesh Music v. Lakewood Church, 727 F.3d 356, 362 (5th Cir. 2013).

         The Court therefore ORDERS that the Clerk of Court CLOSE this action.

         SIGNED on October 2, 2018.


                                             _____________________________________
                                             ROBERT PITMAN
                                             UNITED STATES DISTRICT JUDGE
